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                                         EXHIBIT LIST

                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

Main Case No: 22-90273                           Name of Debtor: Compute North Holdings, Inc.
Adversary No:                                    Style of Adversary:

                                                 Judge: Marvin Isgur
                                                 Courtroom Deputy:
                                                 Hearing Date: November 16, 2022
                                                 Hearing Time: 9:00 a.m.
                                                 Party’s Name: Nebraska Public Power District
                                                 Attorney’s Name: Michael J. Whaley
                                                 Attorney’s Phone: (402) 397-1700
                                                 Nature of Proceeding: Objection to Debtors’
                                                 Assumption and Assignment of Contracts and
                                                 Cure Amount in Connection with Proposed Sale



                                           EXHIBITS
Ex.                 Description                Offered    Objection   Admitted/Not   Disposition
 #                                                                     Admitted
 1    Amendment No. 1 to Agreement for EDR
      Electric Service Among Compute North
      NE05, LLC and Southern Public Power
      District and Nebraska Public Power
      District
2     Restated and Amended Agreement for
      EDR Electric Service Between CN Minden,
      LLC and Southern Public Power District
      and Nebraska Public Power District dated
      2/11/22
3     Letter from Andrew Marino to Nebraska
      Public Power and Southern Public Power
      District dated November 9, 2022
4     Agreement for EDR Electric Service
      Between Compute North NE05, LLC and
      Southern Public Power District and
      Nebraska Public Power District dated
      10//1/21
5     Transmission Facilities Construction
      Agreement at NPPD’s Minden Substation
      dated 2/17/22
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                                   CERTIFICATE OF SERVICE


       The undersigned certifies that a true and correct copy of the foregoing Exhibit List has been
served on all parties entitled to service via this Court’s electronic filing system via email on
November 11, 2022.

Compute North Holdings, Inc.
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN Mining LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN Corpus Christi LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN Pledgor LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN Atoka LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN Big Spring LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 553344

CN Colorado Bend LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344
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CN Developments LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN Equipment LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

CN King Mountain LLC
7575 Corporate Way
Eden Prairie, MN 55344

CN Minden LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North Member LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North NC08 LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North NY09 LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North SD, LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North Texas LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344
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Compute North TX06 LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

Compute North TX10 LLC
Debtor
7575 Corporate Way
Eden Prairie, MN 55344

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                                         /s/ Blake Rasner
                                         Blake Rasner




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